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                            UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF PENNSYLVANIA


                                            )    Case Number
TINA STEVENSON                              )
                                            )
               Plaintiff                    )
                                            )    CIVIL COMPLAINT
       vs.                                  )
                                            )
NATIONAL ACTION FINANCIAL                   )    JURY TRIAL DEMANDED
SERVICES, INC.                              )
           Defendant                        )
                                            )



                           COMPLAINT AND JURY DEMAND

       COMES NOW, Plaintiff, Tina Stevenson, by and through her undersigned

counsel, Brent F. Vullings, Esquire of Warren & Vullings, LLP, complaining of

Defendant and respectfully avers as follows:




                      I.      INTRODUCTORY STATEMENT

       1.      Plaintiff, Tina Stevenson, is an adult natural person and brings this action

for actual and statutory damages and other relief against Defendant for violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. ³)'&3$´ ZKLFKSURKLELWV

debt collectors from engaging in abusive, deceptive and unfair practices.
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                                II.     JURISDICTION

         2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§1337.

         3.    Venue in this District is proper in that the Defendant transacts business

here and Defendant maintains a registered office in this District.




                                 III.    PARTIES

         4.    Plaintiff, Tina Stevenson ³3ODLQWLII´ is an adult natural person residing at

1197 Nathan Mauldin Drive, Lawrence, GA 30046. At all times material and relevant

hereto, PlaintifILVD³FRQVXPHU´DVGHILQHGE\WKH)'&3$86&D  

         5.    Defendant, National Action Financial Services, Inc. ³'HIHQGDQW´ DWDOO

times relevant hereto, is and was a corporation engaged in the business of collecting debt

within the State of Georgia and the Commonwealth of Pennsylvania with its registered

office located at 116 Pine Street, Suite 320, Harrisburg, PA 17101.

         6.    Defendant is engaged in the collection of debts from consumers using the

mail and telephone. Defendant regularly attempts to collect consumer debts alleged to be

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§1692a(6).

                          IV.     FACTUAL ALLEGATIONS

         7.    On or around early February 2010, the Plaintiff began receiving phone

calls from the Defendant regarding an alleged debt due to Bank of America.
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       8.      The alleged debt that the Defendant is attempting to collect is from

approximately 13 years ago and has since been charged off.

       9.      The fact that the Defendant referred to the Plaintiff by the PlaiQWLII¶V

maiden name was a confirmation that the debt is from over 13 years ago, since she was

married and changed her name in March of 1996.

       10.     The Defendant continuously calls the Plaintiff at least two to three times a

day trying to collect on this debt.

       11.     The Plaintiff receives voicemails on her cell phone from the Defendant

stating that the Defendant is a debt collector but the Defendant never stated the name of

the company from which they were calling on the message.

       12.     The Defendant will place phone calls within minutes of each other to the

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       13.     On or around June 17, 2010, the Plaintiff received a message on her cell

SKRQHIURPDQDJHQWRIWKH'HIHQGDQWQDPHG³John Hutchins,´ who was very sarcastic

throughout the messagHDQGDWWKHHQGEHJDQVD\LQJ³,DPVRVLFNRI«´at which point

the call was disconnected.

       14.     The Plaintiff has received automated messages from the Defendant on the

3ODLQWLII¶VFHOOSKRQHVWDWLQJ³If this is not Tina Richards, do not listen to this meVVDJH´

       15.     The Plaintiff has called the Defendant to inform them that she wants all

communication to cease but the Defendant continues to contact the Plaintiff.
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        16.     The Defendant acted in a false, deceptive, misleading and unfair manner

by threatening to take action that it did not intend to take for the purpose of coercing

Plaintiff to pay the debt.

        17.     The Defendant knew or should have known that their actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

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to adequately review those actions to insure compliance with the law.

        18.     At all times pertinent hereto, Defendant was acting by and through it

agents, servants and/or employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.

        19.     At all times pertinent hereto, the conduct of Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

        20.     $VDUHVXOWRI'HIHQGDQW¶VFRQGXFW3ODLQWLIIKDVVXVWDLQHGDFWXDOGDPDJHV

including, but not limitHGWRLQMXU\WR3ODLQWLII¶VUHSXWDWLRQLQYDVLRQRISULYDF\GDPDJH

WR3ODLQWLII¶VFUHGLWRXW-of-pocket expenses, physical, emotional and mental pain and

anguish and pecuniary loss and he will continue to suffer same for an indefinite time in

the future, all to his great detriment and loss.




                                    COUNT I ± FDCPA

        21.     The above paragraphs are hereby incorporated herein by reference.
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       22.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiff for personal, family or household purposes

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       23.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§ 1692d(2):            Profane language or other abusive language

               §§ 1692d(5):            Caused the phone to ring or engaged any person in

                                       telephone conversations repeatedly

               §§ 1692d(6):            Placed telephone calls without disclosing his/her

                                       identity

               §§ 1692e:               Any other false, deceptive, or misleading

                                       representation or means in connection with the debt

                                       collection

               §§ 1692e(2):            Character, amount, or legal status of the alleged

                                       debt

               §§ 1692f:               Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt

               §§ 1692f(1):            Attempt to collect any amount not authorized by the

                                       agreement creating the debt or permitted by law

               §§ 1692g:               Failure to send the consumer a 30-day validation

                                       notice within five days of the initial communication
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        WHEREFORE, Plaintiff respectfully requests that this court enter judgment in

his favor and against Defendant, National Action Financial Services, Inc. and Order the

following relief:

        a.      Actual damages;

        b.      Statutory damages pursuant to 15 U.S.C. §1692k;

        c.      5HDVRQDEOHDWWRUQH\¶VIees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        d.      Such addition and further relief as may be appropriate or that the interests

of justice require.




                                  V.     JURY DEMAND

        Plaintiff hereby demands a jury trial as to all issues herein.



                                               Respectfully submitted,
                                               WARREN & VULLINGS, LLP

        Date: August 2, 2010
                                               BY: /s/ Brent F. Vullings_

                                               Brent F. Vullings, Esquire
                                               Warren & Vullings, LLP
                                               1603 Rhawn Street
                                               Philadelphia, PA 19111
                                               215-745-9800 Fax 215-745-7880
                                               Attorney for Plaintiff
